  Case 19-23261-GLT        Doc 35                                       FILED Desc Main
                                     Filed 10/08/19 Entered 10/08/19 14:37:42
                                     Document     Page 1 of 1            10/8/19 2:07 pm
                                                                        CLERK
                                                                        U.S. BANKRUPTCY
                                                                        COURT - :'3$
                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
   In re:                                 :
                                          : Case No.: 19-23261
   Matthew J. Mergo                       : Chapter 7
   Kimberly K. Mergo                      : Judge Gregory L. Taddonio
                                          : *******************
                                Debtor(s)   Related to Dkt. No. 17
                                          :
   The Huntington National Bank           : Date and Time of Hearing
                                 Movant, : Place of Hearing
          vs                              : 2FWREHUDWDP
                                          :
   Matthew J. Mergo                       : Courtroom A on the 54th Floor of the U.S.
   Kimberly K. Mergo                      : Steel Tower
                                          : 600 Grant Street, Pittsburgh, PA 15219
                                          :
   Robert Shearer
                            Respondents.

                                  MODIFIED DEFAULT ORDER

        AND NOW, to wit, this 8th day of October, 2019, upon consideration of the Motion for
Abandonment ZLWKGD\ZDLYHUof the Real Property of Debtor located at 6 Newport Rd, Pittsburgh,
PA 15221-4544 and more particularly described in the Mortgage, recorded April 27, 2010, at
Instrument Number 2010-29819 it is hereby ORDERED, that the Motion is granted and that the
Estate's interest in the Property referred to in the Motion is hereby ABANDONED to the Creditor, and
the Creditor may proceed with the sale or other disposition of the Property.

       Movant shall serve a copy of this Order on the respondents, their counsel, the Trustee, and the
US trustee. Movant shall file a Certificate of Service within (3) business days.

            Karina Velter, Esq.
                                                   GREGORY L. TADDONIO, JUDGE
                                                   UNITED STATES BANKRUPTCY COURT



       October 08, 2019



Case Administrator to serve:
Karina Velter, Esq.



   19-031226_BEW1
